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AO 440 (Rev. 02/09) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            District of Minnesota


John Penrod, et al.,

                                                      Plaintiff,

v.                                                                             Case No. 0:18−cv−02907−ECT−LIB

K&N Engineering, Inc. ,

                                                      Defendant.




                                                     SUMMONS IN A CIVIL ACTION

To: K&N Engineering, Inc.


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     Daniel C Hedlund
                                     120 South 6th Street
                                     Suite 2600
                                     Mpls, MN
                                     55402

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

KATE FOGARTY, CLERK OF COURT                                  By:




                                                                    Lynnette Brennan


Date of Issuance: October 12, 2018
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AO 440 (Rev. 02/09) Summons in a Civil Action



                                                Summons and Complaint Return of Service
                                                                       Case No. 0:18−cv−02907−ECT−LIB



A copy of the Summons and Complaint has been served in the manner indicated below:

Name of Defendant Served:                            K&N Engineering, Inc.

Date of Service:



                                                            Method of Service

         Personally served at this address:




         Left copies at defendant's usual place of abode with (name of person):




         Other (specify):




         Returned unexecuted (reason):




Service Fees:                  Travel $              Service $         Total $



                                                          Declaration of Server

I declare under the penalty of perjury that the information contained in this Return of Service is true and correct.

Name of Server:

Signature of Server:

Date:

Server's Address:
